Let, Coffican é

GRIBE LAO DA rave darted CAGE POLICE . be on * _[evioenee 4 b HO ab mn
OFFENSE Or thie ri” woe eee AHEA f Giel [teat ” DATE AEGEIVED Y TIME ALS HY Tia Aare Pear a
Homieide (Line-up) 1 | 002 78 | Hay’ |‘B5 | 1800 4800 4183
LOCATION OF OFFENSE OF INCINLNE REQULSTCU Dr RECEIVES OY yy Day ATStGHCD
706 BE. 39th St. O'Callaghan Coffman 612°
ViEvies HAUL six PRACe [ace |Aophees PHONE HO. .
Talnen Hicknan/Jerome Smith M]B .
EVIMINATION FAINTS iw CUSTODY NAHE C. #. NO, ‘ 1. A, HO.
Cl ves [Jr CI ves CC} NO ‘ ,
*e
[}res [Jeo TE jves [7] 0 ve
va
rials LOCATION FOUND elu]. LOCATION FOUNG FOR IDENT. USE OF
was. wot
PHOYOS TAKEN Cy FOLAROID [LJnaw LF} coun
a. Photo Ident Card p. Left profile seated G. -
no, Frontal seated E. Frongal seated H.
c, Right profile seated: F. Phote Ident Hard b
OGIO CD ag LANO UF IDENTIFIED! WEAPOH USED & DISPOSITION MORGUE [Jercon [—) nan PLAT
ves [~] Ho ()swaos {Jans [LC ]ve
NO, DESCRIPTION & LOCATION HO. OEFSCRIPTION & LOCATION ,
ty
u
é
2
a
4
3
u
> ;
x
& -
a vean | [MaKe & Moper COLOR LICENSE HO. BERIAL HO,
é .
HICAGANALYST F 7] roa, wanne DOCUMENTS TJ. chemsr LJ Fineanus Ty osreci
INVENTOAY HOS. ‘
DETAILS OF CASE
Subjects in Line-up left to right:
#1, Hawkins, Earl . Ire 4hh7e22
#2. Dinkens, Herbert IR¥ 437950
RS. Fergerson, Ray IRf 319766 (identified) .
#4, Green, Charles IR? 16315
#5, Carter, Sasuel H/B/25 YOA .
INVESTIGATING OFFICER & MAME . STAR HO. DEAT OFFICENS BEAT
bet. O'eatlaghan | 44921
tony P aS wpe “C2 — SvAn NO PHOVO NO | SUPENWISON APPROVING STAF
. we ’ €
138h2 ore S eT Sy Mare, Lf

CRORE (Bay Gore

CRIME LABORATORY

USE REVENSE SIDE FOR DETAILS OF CRIME SCENE PRO ©
DIVISION COPY

